         Case 1:23-cv-00003-SWS Document 11-1 Filed 03/15/23 Page 1 of 9




                        United States District Court
                                             for the

                                      District of Wyoming




  Jake Stanley DeWilde
                                                            Case No. l:23-cv-00003-SWS

          Plaintiff,



                V.




Attorney General Of the
United States; Director of
the    Bureau    of Alcohol,
Tobacco,    Firearms,   and
Explosives,



         Defendants.




      AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        NOW COMES Plaintiff Jake Stanley DeWilde, and for his Amended Complaint for

Declaratory and Injunctive Relief states as follows:


                                          INTRODUCTION




                                                                               Page 1 of 9
Case 1:23-cv-00003-SWS Document 11-1 Filed 03/15/23 Page 2 of 9
Case 1:23-cv-00003-SWS Document 11-1 Filed 03/15/23 Page 3 of 9
Case 1:23-cv-00003-SWS Document 11-1 Filed 03/15/23 Page 4 of 9
Case 1:23-cv-00003-SWS Document 11-1 Filed 03/15/23 Page 5 of 9
Case 1:23-cv-00003-SWS Document 11-1 Filed 03/15/23 Page 6 of 9
Case 1:23-cv-00003-SWS Document 11-1 Filed 03/15/23 Page 7 of 9
Case 1:23-cv-00003-SWS Document 11-1 Filed 03/15/23 Page 8 of 9
Case 1:23-cv-00003-SWS Document 11-1 Filed 03/15/23 Page 9 of 9
